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                             IN THE UNITED STATES DISTRICT COURT
                            FOR THE SOUTHERN DISTRICT OF ILLINOIS

PHILIP HAYES,                                                    )
                                                                 )
                  Plaintiff,                                     )
                                                                 )
vs.                                                              )        Case No. 3:20-cv-944-RJD
                                                                 )
DEE DEE BROOKHART, et al.,                                       )
                                                                 )
                                                                 )
                  Defendants.                                    )

                                                 90-DAY ORDER
DALY, Magistrate Judge:1

         The parties have informed the Court that they have settled this case, but they need

additional time to finalize the settlement documents. Defense counsel is DIRECTED to forward

a proposed Settlement Agreement to Plaintiff within 30 days from the date of this Order. Defense

counsel is further directed to file a status report within 60 days from the date of this Order, advising

the Court whether the Settlement Agreement has been fully executed and submitted to the CMS

for payment. Once the Settlement Agreement has been fully executed and submitted to the CMS

for payment, this case will be dismissed with prejudice (unless Plaintiff or Defendant files a motion

requesting otherwise).

         No later than 90 days from the date of this Order, the Clerk of Court is directed to enter

judgment dismissing this action with prejudice and without costs. The parties are advised that the

90-day period to finalize settlement will not be extended absent exceptional circumstances (and

only upon motion by a party). Due to the settlement, the Court VACATES all deadlines and

settings.


1
  This case has been assigned to the undersigned to conduct all proceedings, including trial and entry of final judgment,
through the parties’ full consent in accordance with the provisions of Title 28 U.S.C. Section 636(c) and Federal Rule
of Civil Procedure 73. (Doc. 23)

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    IT IS SO ORDERED.

    DATED: February 18, 2025



                                        s/ Reona J. Daly
                                        Hon. Reona J. Daly
                                        United States Magistrate Judge




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